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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                               SAN ANTONIO DIVISION


PALACE INN FRANCHISING, LLC,                    §
                                                §
       Plaintiff,                               §
                                                §
       v.                                       §      Case No. 5:24-cv-00394
                                                §
JASPER HOTELS, LLC,                             §      JURY DEMANDED
                                                §
       Defendant.                               §


                             NOTICE OF UNAVAILABILITY


       PLEASE TAKE NOTICE that Matthew C. Acosta attorney for Plaintiff Palace Inn

Franchising, LLC (“Palace Inn” or “Plaintiff”) will be out of the office and unavailable for

depositions, hearings or trial from September 9, 2024 through September 30, 2024.

       It is respectfully requested that no deposition, hearings, trial or other matters be noted

during this time period.




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Dated: September 9, 2024                     Respectfully submitted,

                                             PLATT RICHMOND PLLC

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                                             COUNSEL FOR PLAINTIFF



                                CERTIFICATE OF SERVICE

        The undersigned counsel for Plaintiff does hereby certify that this pleading was served on
all counsel of record on September 9, 2024 by the Court’s ECF system.

                                             /s/ Matthew C. Acosta
                                             MATTHEW C. ACOSTA




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